          9:18-cv-02137-TLW-BM              Date Filed 08/03/18      Entry Number 1          Page 1 of 19
'   )




                                    IN TIIE \JNITED STATES DISTRICT COlJRT
                                     H >R Tl IE DISTRICT OF SOlJTI I (',\ROLIN/\



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                                                                    Comph1int for Violation of Civil
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        this complaint. I/the names o/all the plaintiffs            Case No.
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        JJ(lge with theji1// list o/11ames.)
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        heing sued. If the names of all the defendants                                                        :z  ,,,r-o
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        , 1ttached" in the space and attach an additional                                                              ~

        page with thejitll list of names. Do not include
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        uddresses here.)



                                                       NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public
access to electronic court tiles. Under this rule, papers filed with the court should not contain: an
individual's full social security number or full birth date; the titll name of a person known to be a minor; or
a complete financial account number. A filing may include vn/y: the last four digits of a social security
number; the year of an individual's birth; a minor's initials; and the last four digits of a financial account
number.

l_:xcept as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or
any other materials to the Clerk's Office with this complaint.

When submitted for filing, your complaint should be accompanied by the full filing fee or an application to
proceed injrmna pauperis.
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I.      l'hc Parties to l'his Complaint

        .\.    l'hc Plaintiff(s)

               l'rovidc the information below 1·or each plaintiff named in the complaint.    Attach
               .1dJitional pages if needed.

                       Name                      \/o...sho..vn Ra.vene\
                       .\II nther names by which you have been known:




                       If)   Number
                       Current Institution     . M.c..CorM;c..k. Cor,ec..·hona.l "Ins+i-hrno/l
                       Address                  38~      Redemption     Wo..y


        B.     The Defendant(s)

               Provide the information below for each defendant named in the complaint, whether
               the defendant is an individual, a government agency, an organization, or a
               corporation. Make sure that the defendant(s) listed below are identical to those
               contained in the above caption. For an individual defendant, include the person's job
               or title (if known) and check whether you are bringing this complaint against them in
               their individual capacity or official capacity, or both. Attach additional pages if
               needed.

               Defendant No. I
                       Name
                       Job or Title
                       (if known)
                       Shield Number
                       Employer
                       ,\ddress
                                                kersho..w., ~c:... 'a9o<o7
                       ~       Individual capacity          ~    Official capacity

                Defendant No. 2
                       Name


                                                     ,
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                     ~      Individual capacity              81         Onicial capacity


             Ikfendant No. J

                     Name                      d. Rober+son
                     Job or Title
                     (if known)
                     Shield Number
                     Employer                  M.cCorM ic..k.. Correc.:honc..l          Lsti·b.rl·ion
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                      ~     Individual capacity               Kl        Official capacity


             Defendant No. 4

                      Name                    _Gr I idew•~ll
                     Job or Title
                     (if known)
                      Shield Number
                      Employer                M.c.Co rM ,c..k. Carrec:bo-nc.. I :If\sf:i±vh()(\
                      Address                 3B(o ~eclemp:b'on Wa._y
                                               McCocooidc     .        SC    aq~t:JCJ
                      gj     f ndividual capacity             ~         Official capacity

II.   Basis for Jurisdiction

      Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights,
      privileges, or immunities secured by the Constitution and [federal lawsj." Under Bivens v. Six
      (Jnknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 ( 1971 ), you may sue
      federal officials for the violation of certain constitutional rights.
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       .\.      .\n:   Vllll   brin~ing suit against (clreck all that ll(Jply):

                11         1-\:deral 1ilfo:ials (a /livens claim)

                1><l       State or lncal onicials (a~ 1983 claim)

       IL       Section I 1)83 allows claims alleging the ''deprivation of any rights, privileges, or
                immunities secured by the Constitution and [federal lawsj." ..J-2 U.S.C. ~ 1983. If you
                ;1rc suing under section 11)83, what federal constitutional or statutory right(s) do you

                claim is/arc being violated by state or local officials?

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       l '.      Plaintiffs suing under Bivens may only recover for the violation of certain
                 constitutional rights. If you are suing under Bivens, what constitutional right(s) do you
                 claim is/are being violated by federal officials?




        D.       Section 1983 allows defendants to be found liable only when they have acted "under
                 color of any statute, ordinance, regulation, custom, or usage, of any State or Territory
                 ur the District of Columbia." 42 U.S.C. § 1983. If you are suing under section 1983,
                 explain how each defendant acted under color of state or local law. If you are suing
                 under Bivens, explain how each defendant acted under color of federal law. Attach
                 ;1Jditional pages if needed.

                   '' Se~         o...+1-a..ched   11




III.    Prisoner Status

        Indicate whether you are a prisoner or other confined person as follows (check all that apply):

        [J       !'retrial detainee

        D        ( 'ivilly committed detainee
        1
            J    Immigration detainee
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      ~      l \mvictc<l anJ scnlcnceJ state prisoner

      I-]    < •unv ictcd   anJ scntcm.:eJ !'cderal prisoner

      IJ     ( Hher (expluin)

IV.   Statement of Claim

      State as briefly as possible the facts of your case. Describe how each ddendant was
      personally involved in the alleged wrongful action, along with the dates and locations of all
      relevant events. You may wish to include further details such as the names of uthcr persons
      involved in the events giving rise to your claims. Do not cite any cases or statutes. If more
      than une claim is asserted, number each claim and write a short and plain statement of each
      claim in a separate paragraph. Attach additional pages if needed.

      ,\.    If the events giving rise to your claim arose outside an institution, describe where and
             when they arose.




       l3.   If the events giving rise to your claim arose in an institution, describe where and when
             they arose.

             '' S.ee.       a.++uched ''



       C.     What date and approximate time did the events giving rise to your claim(s) occur?

              " S-e.e.      O..~checl "



       D.    What are the facts underlying your claim(s)? (For example: What happened to you?
              /Vho did what'! Was anyone else involved? Who else saw what happened!)

              II   See,     a:++a.c heel   11




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V.     Injuries

       If ynu sustained injuries related to the events alleged above, describe ynur injuries and state
       what medical treatment, if any, you required and did or did not receive.
       ,,           -- I~         I    I   I/
            See..   C,t1'1'"e\C   h.e.Gl




VI.    Relief

       State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
       cases or statutes. lf requesting money Jamages, include the amounts of any actual damages
       anJ/or punitive damages claimed for the acts alleged. Explain the basis for these claims.




VII.   Exhaustion of Administrative Remedies Administrative Procedures

       1'11e Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § l 997c(a), requires that "[nJo action
       ;hall be brought with respect to prison conditions under section 1983 of this title, or any other
       1:ederal law, by a prisoner confined in any jail, prison, or other correctional facility until such
       administrative remedies as are available are exhausted."

       ,\drninistrative remedies are also known as grievance procedures.             Your case may be
       dismissed if you have not exhausted your administrative remedies.


                                                           ()
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    \.    l)id your claim(s) arise whih! you were contined in a jail, prislln, or uthcr currcctional
          i":1cility?



          I]        No


          II" yes, name the jail, prison, ur other correctional foci lily where Yllll were co11 tined at
          the time of the events giving rise to your claim(s).
                K.ershCA..vJ Correc.+io"cc.l Ios+dv:ho"'- 7 ; a,,J McCor-Mi<--1:::.
                Corre e::bonq I I" :s+i+v-hcsf\



    13.   Does the jail, prison, or other correctional facility where your daim(s) arose have a
          ~rievance procedure'?

          E.            Yes
          IJ         No

          []            Do not know


    C.    Does the grievance procedure at the jail, prison, or other correctional facility where
          your claim(s) arose cover some or all of your claims?

          Kl            Yes

          0          No

          D          Do not know


          If yes, which claim(s)?
              &>+\\ Aroe-r:droe-0-±j    4~ A~~+- ~J         01
                                                              ;        Is+ A-,v,eJ~..\-- h
          ~ \J. s.            Co"s.-+i:brho"-



    I)_   Did you tile a grievance in the jail, prison, or other correctional facility where your
          claim(s) arose concerning the facts relating to this complaint'!

          ~          Yes
          r.J        No




                                                7
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          Ir no, did you tile a gric-vance aboul the cve11ts described i11 this co111plai11t :1l any 1>thcr
          jail, prison, or other correctional facilitv?

          11      Yes
          IJ      No

   I•:.   If you did tile a gricvancc:

          I.      Where Jid    Yllll   tile the ~ricvam.:l.:'?




          1        What Ji<l you claim in your grievance?


                                                                  /
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           3.      What was the result, if any?




          •l.      What steps, if any, did you take to appeal that decision? Is the grievance
                   process completed'? If not, explain why not. ( Describe all efforts to appeal to
                   the highest level olthe grievance process.)

                    h/o..., . Yes,, 3r;e"~"C-tC... process is CoMple+eJ




                                                        :~
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        1:.    ll'v1n1 did not Ii le a ~ricvam:c:

               I.      Ir there arc any reasons why you did nol tile a ~ricva11ce, ,,tale them here:




                       11· you did not tile a grievance hut you did inform officials of your claim, state
                       who you informed, when and how, and their response, if any:




        Ci.     Please set forth any additional information that is relevant to the exhaustion of your
               administrative remedies.




               (Note: You may attach <IS exhibits to this complaint any documents related to the
               exhaustion ofyo11r administrative remedies.)

VIII.   Previous Lawsuits

        The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal
        court without paying the tiling fee if that prisoner has "on three or more prior occasions, while
        incarcerated or detained in any !'acility, brought an action or appeal in a court of the United
        States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
        upon which relief may be granted, unless the prisoner is under imminent danger of serious
        physical injury." 28 U.S.C. 9 191 S(g).

         ro  the best of your knowledge, have you had a case dismissed based on this ''three strikes
        rn le'"?

                i.J     Yes

                ~      No



                                                     I)
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   Ir     •;n, state which court dismissed your case, when this occurred, and altach a copy llf the
   ,q·der if possible.




    \.         I lave you tiled other lawsuits 111 state or federal court dealing with the same fal:ls
               involved in this action?

               IJ      Yes

               ~      No

    1l.        If your answer to A is yes, describe each lawsuit by answering 4uestions l through 7
               below. ( ff there is more than one lawsuit, describe the additional lawsuits on another
               page, using the same format.)

               I.      Parties to the previous lawsuit

                       Plaintiff(s)
                       Defendant(s)

                       Court (if.federal court, name the district; if state court, name the county and
                       State)



               3.      Docket or index number




                       Name of Judge assigned to your case




               5.      ,\pproximate date of filing lawsuit




               ().     Is the case still pending?

                       D        Yes

                       D        No

                       r r 110, give the approximate date of disposition.



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                Whal was the result ol' the case? ( 1-'tJr             ('X{(III/Jle:   /Vns 1!,e C{(Se d1smisseti! /Vos
                ; 11cl,1!,111em t.!nlered 111 vu11r   /i1vnr 1   /V{(s the t'(/Se 11/J/Jeidl!d!)




   <•    I lave you tiled otlH.:r lawsuits in slate ur kderal court otherwise n.:lating lo the
         cunditions of ynur imprisonment?

         IJ     Y1.:s
         ~      No

   I).   If your answer to C is yes, describe each lawsuit by answering questions l through 7
         hdow. (!/there is more than one lawsuit, describe the additional lawsuits on another
         J't1ge, using the same format.)

         I.      Parties to the previous lawsuit

                 Plaintift~s)
                 De fondant( s)

                 Court (ljfederal court, name the district; if state court, name the county and
                 ,'i'tate)




         3.      Ducket or index number




          L      Name of Judge assigned to your case




         5.      Approximate date of tiling lawsuit




         h.      ls the case still pending?

                 D           Yes
                 IJ          ~Jo


                                                         11
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                          Ir 1111. !~ivl! the approximate date llf disposition.

                7.         What was the n.:sult of the 1:asc'l ( /<'or exmnr1le: IVus the case dismi.,·.,·ed? IVas
                          ;11dg111e11t i:nferecl /11 vo11rji1vor! IV11s   the case appealed'!)




IX.   ( 'crtilication a nil Closing

      ! Imler Fi..:deral Ruic nf Civil Procedure 11, by signing below, I cl.!rtify to the best of my
      knowledge, in formation, and be! ief that this complaint: ( l) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
      11f   litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
      modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
      i r spceitically so identified, will likely have evidentiary support atter a reasonable opportunity
      fnr further investigation or discovery; and (4) the complaint otherwise complies with the
      n.:quirernents of Rule I I.


      ,\.       For Parties \Vithout an Attorney

                [ agree to provide the Clerk's Office with any changes to my a<l<lress where case-
                rdated papers may be served. l understand that my failure to keep a current address
                llll   tile with the Clerk's Office may result in the dismissal of my case.

                Date of signing:      Aujus+ I , 20\8.
                Signature of Plaintiff               l/~A.a1A//'l         ~c....,,1,Au1.tl
                Printed Name of Plaintiff  _\/~a..s~~h=a.=I.Tf\~-~~o.:=v~e~"~e~l____________
                Prison Identification # 30b0lo'2
                                       -~~~~------------------
                Prison Address 38G:, Rederop±io:o Wo..v

                                                         .
                                       I\J\cC.o.,-.MidC Sc.,         9<iscrJ
                                     City                                 State                  /:ip Code
      B.        For Attorneys

                Date of si~ning: _ _ _ _ _ , 20_


                '-;ignature of Attorney
                Printed Name of Attorney
                I ~ar Number
                ~amc of Law Firm


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